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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:11CR70
                              )
          v.                  )
                              )
JESUS CADENAS-GERONIMO,       )                      ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for early release pursuant to Title 18 U.S.C. § 3624 (Filing No.

83).   The Non-Violent Offenders Relief Act of 2013 to which

defendant refers has not been enacted into law.              Accordingly,

           IT IS ORDERED that defendant’s motion for early release

is denied without prejudice.

           DATED this 1st day of April, 2014.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
